Pnoa. 12 CaSe 2:04-cr-20104-tmp Document 55 Filed 08/03/05 Page 1 of 3 Page|D 42
(Rev.S/SS)
UNITED STATES DISTRICT COURT

 

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for
WES'I`ERN DISTRICT OF TENNESSEE

WESTERN DIVISION

 

U.S.A. vs. DERRICK JONES Docket No. 2:04CR20104-001
Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER II PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Derrick Jones Who was placed on supervision by the Honorable
Tu M. Pham sitting in the Court at Memphis, TN on the §§ day of _M_ay, 2004 who fixed the period of supervision
at one § l 1 year*, and imposed the general terms and conditions theretofore adopted by the court and also imposed
special conditions and terms as follows:

 

The defendant shall pay a $l,OO0.00 fine (balance $1,000.00)
The defendant shall make hlll financial disclosure to the U.S. Probation Offlce.
Modified on February l l, 2005, to include conditions that he participate in drug and alcohol testing and treatment

as directed by the Probation Ofiice, and that fine payments be set at ten (10%) of his monthly gross income to be
paid by the end of each month.

*Term of Supervised Release began February 3, 2005. On May 5, 2005, a revocation petition was signed by
Magistrate Pham and on July 22, 2005, Mr. Jones Was released on a $2,500.00 unsecured bond by Magistratc
Vescovo.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHED)
PRAYING THAT THE COURT WILL ORDER a Warrant be issued for Mr. Jones and his bond revoked.

ORDER OF COUR'I` I declare under penalty of perjury that the foregoing
is true and correct.

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of 1{1%\}3:{ , 20§$ and ordered filed and Executed on {2¢,:"£,£ § 1005
made art f the r rds in the above case,
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1 v/\W U.S. Probation Ofiicer
United States Distsiet» Judge
M {,,.?1 )-[m{: 4 Place: Memphis, Tennessee

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PROB 12 Case 2:04-cr-20104-tmp Document 55 Filed 08/03/05 Page 2 of 3 Page|D 43

Jones, Derrick

Docket No. 2:04CR20104-001

Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDAN'I` HAS VIOLATED THE FOLLOWING CONDITIONS OF HIS BOND:

The defendant shall reside at his grandmother’s house on home confinement

Mr. iones violated Home Confinernent by leaving his residence on August 2, 2005 , without permission: at Z:OQAM
until 2:34AM, again from 2:34AM until 5:3 SAM, and immediately back out at 5 :35AM until 6:06AM.

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 55 in
case 2:04-CR-20104 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

EiovESSEE

 

Randolph W. Alden

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Kristen Coyne

US DEPARTl\/[ENT OF .TUSTICE
5722 Integrity Dr.

Millington, TN 38054

Honorable Tu Pham
US DISTRICT COURT

